      Case: 22-70002   Document: 124-2     Page: 1   Date Filed: 09/14/2023




                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                           September 14, 2023


Ms. Donna F. Coltharp
Federal Public Defender, TXW
Capital Habeas Unit
919 Congress Avenue
Suite 950
Austin, TX 78701

      No. 22-70002     Gobert v. Lumpkin
                       USDC No. 1:15-CV-42


Dear Ms. Coltharp,
We will take no action on your petition for rehearing. The time
for filing a petition for rehearing under Fed. R. App. P. 40 has
expired.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk



                                  By: _________________________
                                  Monica R. Washington, Deputy Clerk
                                  504-310-7705
cc:   Ms. Amy Fly
      Mr. Ali Mustapha Nasser
      Mr. Matthew Dennis Ottoway
      Mr. Tivon Schardl
